       Case: 1:21-cv-01794 Document #: 7 Filed: 05/12/21 Page 1 of 1 PageID #:21




                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

 LAURA ENRIQUEZ,

      Plaintiff,

 v.
                                                       Case No. 1:21-cv-01794
 ATLANTIC RECOVERY SOLUTIONS,
 LLC,

      Defendant.

                          NOTICE OF VOLUNTARY DISMISSAL

        NOTICE IS HEREBY GIVEN that pursuant to Federal Rule of Civil Procedure 41(a),

Plaintiff, LAURA ENRIQUEZ, voluntarily dismisses Defendant, ATLANTIC RECOVERY

SOLUTIONS, LLC, without prejudice from this action with each party to bear its own attorney’s

fees and costs. This notice of voluntary dismissal is being filed with the Court before service by

Defendant of either an answer or a motion for summary judgment.

DATED: May 12, 2021                                 Respectfully submitted,

                                                    LAURA ENRIQUEZ

                                                    By: /s/ Joseph S. Davidson

                                                    Joseph S. Davidson
                                                    LAW OFFICES OF JOSEPH P. DOYLE LLC
                                                    105 South Roselle Road
                                                    Suite 203
                                                    Schaumburg, Illinois 60193
                                                    +1 847-985-1100
                                                    jdavidson@fightbills.com




                                                1
